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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

LANDMARK AMERICAN INSURANCE                    )
COMPANY,                                       )
                                               )            Case   No.   4:   1   8-CV-00239-KGB
       Plaintiff,                              )
                                               )            STIPULATION TO DISMISS
                                               )            ACTION WITHOUT
                         V                     )            PREJUDICE
                                               )
DOMTAR A.W., LLC,                              )
STEPHEN L. LINDSAY, and                        )
POWER SPECIALISTS ASSOC., INC.,                )
                                               )
       Defendants                              )
                                               )
                                               )
DOMTAR A.W., LLC,                              )
                                               )
       Cross-Plaintiff   ,                     )
                                               )
                         V                     )
                                               )
POWER SPECIALISTS ASSOC., INC.,                )
                                               )
       Cross-Defendants                        )

                              STIPULATION OF DISMISSAL

       Plaintiff Landmark American Insurance Company ("Landmark") and Defendant/Cross-

Plaintiff Domtar A.W., LLC ("Domtar") and Defendant Stephen L. Lindsay ("Lindsay"), by and

through their respective counsel, hereby stipulate as follows pursuant to Federal Rule of Civil

Procedure 41:

       1.       Landmark and Domtar have resolved any controversy between them regarding

Landmark's duty to defend Domtar in the underlying lawsuit styled Lindsay v. Domtar Paper
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Company, LLC, et al.,whrch is currently pending as case no. 4:17-CV-00685-KGB in the United

States   District Court for the Eastern District of Arkansas'

         2.      Necessary party Defendant Lindsay does not object        to the resolution reached

between Landmark and Domtar.

          3.     Necessary parly Defendant Power Specialists Assoc., Inc. ("Power Specialists")

previously stipulated to be bound by any judgment entered in the controversy between Landmark

and   Domtar. [Dkt. No. 8, Ex.    A].   The Court accordingly dismissed Power Specialists as a party

to Landmark's Complaint for Declaratory Judgment' [Dkt. No. 31].

          4.      The undersigned parties stipulate and agree that Landmark's Complaint for

Declaratory Judgment shall be dismissed without prejudice, each party to bear its own costs and

fees, all matters presently in controversy having been settled, compromised and adjourned.

          A proposed Order of Dismissal without Prejudice is attached'

DATED this 28th day of Jatuary,2019

                                                     Respectfully Submitted,


                                                     /s/ Michael S. Kniooen
                                                     Attorney   for Plaintiff, Landmark    American
                                                     Insurance Company

                                                     Michael S. Knippen
                                                     Kyle M. Dickinson
                                                     Traub Lieberman Straus & Shrewsberry, LLP
                                                     303 W. Madison Street
                                                     12th Floor
                                                     Chicago, IL 60606
                                                     3t2-332-3900
                                                                  sslaw
                                                     kdickinson@traublieberman. corn


                                                     /s/ M. Evan Stallinss
                                                     Attorney for Defendant / Cross-Plaintiff, Domtar
                                                     AW, LLC
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                              Joseph Cotton Cunningham
                              Mark Evan Stallings
                              Barber Law Firm PLLC
                              425 West Capitol Avenue
                              Suite 3400
                              Little Rock, AF.72201
                              50r-701-6138
                              c   cunni sha m@,b arb erl awfi rm. c o m
                                          n
                              estallin gs@barberlawfirm.     com


                              /s/ Richard J. Zalasky
                              Attorney for Defendant Stephen L Lindsay

                              Richard John Zalasky
                              Brown & Crouppen
                              One Metropolitan Square
                              211 North Broadway
                              Suite 1600
                              St. Louis, MO 63102
                              314-42r-0216
                              ichz@setbc.com

                              Chester H.      Lauck, III
                              Lauck Law Firm, P.A.
                              210 Thayer Street
                              Little Rock, AR72205
                              50r-375-2825
                              chet@laucklawfirm.com
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                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the forgoing document was filed on January 28,
2019, with the Clerk of the Court using the CM/ECF System, which will send electronic
notification of such filing to all counsel on record.




                                              /s/ Michael S. Knippen
